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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Xx
DR. RUPERT GREEN
Plaintiff (s
-against-
THE DEPARTMENT OF EDUCATION OF THE CITY OF NEW YORK
; and THE UNITED FEDERATION OF TEACHERS
Defendant
x

 

STATE OF NEW YORK, COUNTY OF NEW YORK SS: The undersigned, b
years of age and resides at Westchester County, New York
That on November 14, 2019 at 12:30 PM, at 52 BROADWAY, 9T™4 FLOOR, B
Deponent served the within AMENDED COMPLAINT AND OTHER DOCUM|

ON: THE UNITED FEDERATION OF TEACHERS _ therein named,

CORPORATION a DOMESTIC corporation, by delivering thereat a true d
XxX personally, deponent knew said corporation so served to be
individual to be the AGENT AUTHORIZED TO ACCEPT
DESCRIPTION FEMALE BROWN SKIN BLACK HAIR 21-3
X
MILITARY
SERVICE T asked the person spoken to whether recipient was in active.

X capacity whatever and received a negative reply. Recipient

information and the grounds of my belief are the conversatio:
the recipient is not in Military service of ‘New.’ ‘York State or o
Statutes. :

4 | y
Sworn to before me on this

day of | OU L-rp 20 |
[ Le f

NOTARA PUBLIC OR Col SONEOFD OF DEEDS -

    

 

VINCENT J. VANASCO
State of New York
Notary Kings County
Lic # 01VA6251377
EXPIRES 12/12/19

 

18 CIV. 10817 (AT) (GWG)

AFFIDAVIT OF SERVICE

s)
eing duly sworn, deposes and says; deponent is 1
ROADWAY, NEW YORK 10004

ENTS

opy of each to ERIE BREWSTER
the corporation described in same as said recipie'
SERVICE thereof.

5 YRS 5'4"-5'8" 13 1- 160 LBS.

S and observations bove n

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ilitary service of the United States or of the State of New York in any
nor ordinary civilian and no, military uniform. Th

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ign and belief I aver that
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DR. RUPERT GREEN,

Plaintiff D¢
-against-

THE DEPARTMENT OF EDUCATION OF
THE CITY OF NEW YORK; and THE UNITED
FEDERATION OF TEACHERS,

Defendants

YCKET NO. 18 Civ. 10817 (AT) (GWG)

AMENDED COMPLAINT
Jury Trial Demanded

 

PLAINTIFF DR. RUPERT GREEN, (“Plaintiff”) 5
and Complaint filed to protect his Constitutional ri
DEPARTMENT OF EDUCATION OF THE CITY
union, the UNITED FEDERATION OF TEACHE]

knowledge as to his own facts and upon informatio

 

roceeding Pro Se, as and for his Summons
shts against the above-captioned Defendants

| OF NEW YORK (henceforth “Doty and his
RS (henceforth “UFT”), alleges upon

n and belief as to all other matters: |

PRELIMINARY $TATEMENT

1.This is a civil action seeking injunctive relief, mc
economic loss, compensatory and punitive damage
Constitutionally protected rights given to him as a
namely to have a proper determination of probable

diminishing his property and liberty rights, and to §

netary relief, including past and on-going
s for wrongful termination due to violations of
enured teacher under Education Law 3020-a

cause before any charges were filed

peak as a citizen on a matter of public

concern without retaliation. Plaintiff brings this action under, 42 U.S.C. § 1983, 29 U.SiC. §185

 

 
